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                                      UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

UNITED STATES OF AMERICA                                      §
                                                              §
V.                                                            §    NO. 4:22CR289
                                                              §    (Judge Jordan)
GUY WESLEY REFFITT                                            §

         MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES,
     CHANGE OF PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF TEXAS;

          COMES NOW, Defendant, GUY WESLEY REFFITT, by and through his undersigned

attorney, and files this, his MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES,

CHANGE OF PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE, and would

show this Honorable Court as follows, to-wit:

                                                              I.

                                             PROCEDURAL HISTORY

          On January 23, 2023, the Defendant appeared before United States Magistrate Judge

Christine A. Nowak for an Initial Appearance and Arraignment on a one-count Indictment, in

which the Defendant is charged with a violation of 26 U.S.C. § 5861(d) (Possession of

Unregistered Firearm). At that time, the Office of the Federal Public Defender for the Eastern

District of Texas was appointed to represent the Defendant.

          The deadline to file a continuance or notification of a plea agreement is March 13, 2023,

and the Final Pretrial Conference is scheduled for April 3, 2023.




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                                                              II.
                                              GROUNDS FOR MOTION

          Defense counsel respectfully requests a continuance of the pretrial dates to receive and

review the discovery in this case, and to discuss the evidence and sentencing guidelines with the

Defendant. Because of the possible punishment, the Defendant respectfully requests this additional

time in order to make a fully informed decision. This request is made in order to ensure that

effective assistance of counsel is provided to the Defendant.

          This Motion for Continuance is not made for purposes of delay, but only in order that

justice may be done. The Defendant requests that this Court make a finding that “the ends of

justice served by taking such action outweigh the best interest of the public and the defendant to a

speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

          Due to the reasons outlined above, Defendant respectfully requests an additional 60 days

for the pretrial motion dates, change of plea deadline, and final pretrial conference date.

          WHEREFORE PREMISES CONSIDERED, Defendant respectfully requests that the

pretrial motion dates, change of plea deadline, and final pretrial conference date in this case be

reset from their current setting for an additional 60 days.

                                                                    Respectfully submitted,

                                                                     /s/ Michelle Allen-McCoy
                                                                    MICHELLE ALLEN-MCCOY
                                                                    Assistant Federal Defender
                                                                    Eastern District of Texas
                                                                    7460 Warren Parkway, Suite 270
                                                                    Frisco, Texas 75034
                                                                    (469) 362-8506
                                                                    FAX: (469) 362-6010

                                                                    Attorney for Defendant




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                                       CERTIFICATE OF CONFERENCE

       Prior to filing this motion, I contacted Assistant United States Attorney, William Tatum,
and the Government does not oppose this motion.


                                                              /s/ Michelle Allen-McCoy
                                                              MICHELLE ALLEN-MCCOY
                                                              Attorney for Defendant



                                           CERTIFICATE OF SERVICE

      I hereby certify that on the 8th day of March 2023, a true and correct copy of the foregoing
Defendant's MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES, CHANGE OF
PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE was sent by CM/ECF to:

          William Tatum
          Assistant U.S. Attorney
          600 East Taylor
          Suite 2000
          Sherman, TX 75090

                                                              /s/ Michelle Allen-McCoy
                                                              MICHELLE ALLEN-MCCOY
                                                              Attorney for Defendant




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